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                       UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF FLORIDA

                          Case No. 12-60201-Civ-SCOLA

  ION AUDIO, LLC

        Plaintiff,
  vs.

  MUSIC GROUP SERVICES US, INC.
  and MUSIC GROUP IP LTD.,

        Defendants.
  _____________________________________/


                                  Order Of Dismissal
         THIS CASE has been dismissed with prejudice pursuant to Federal Rule
  of Civil Procedure 41(a)(1)(A)(ii). (Joint Stip. For Dismissal With Prejudice, ECF
  No. 126). The Court reserves jurisdiction to enforce the parties’ settlement
  agreement. The Clerk will close this case. All pending motions, if any, are
  denied as moot.
        Done and Ordered in chambers, at Miami, Florida, on March 19, 2014.


                                              ________________________________
                                              Robert N. Scola, Jr.
                                              United States District Judge
